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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MARYLAND
                                      Greenbelt Division



In re: MAHMOUD MUSA ABULHAWA,                                          Case No.: 21-14649-TJC
                                                                       Chapter 13
                          Debtor.

Mahmoud Musa Abulhawa,

                          Movant,

v.                                                                     CONTESTED MATTER

Kapitus Servicing, Inc. f/k/a
Colonial Funding Network, Inc.
as servicing agent for
Strategic Funding Source, Inc.
d/b/a Kapitus

                          Respondent.


             RESPONSE TO DEBTOR'S OBJECTION TO CLAIM NUMBER 8-1
                         AND RESERVATION OF RIGHTS

        Kapitus Servicing, Inc. f/k/a Colonial Funding Network, Inc. as servicing agent for

Strategic Funding Source, Inc. d/b/a Kapitus ("Kapitus"), by counsel, hereby files this response

and reservation of rights with respect to the Amended Objection to Claim of Kapitus Servicing,

Inc. f/k/a Colonial Funding Network, Inc. filed by Mahmoud Musa Abulhawa (the "Debtor") on

September 29, 2021 (the "Objection") (Doc. 47), pursuant to § 502 of the Bankruptcy Code,

Federal Rule of Bankruptcy Procedure 3007 and applicable authority, and states as follows:




Paige Levy Smith, MD Fed. Bar No. 19912
SANDS ANDERSON PC
1497 Chain Bridge Road, Suite 300
McLean, Virginia 22101-5728
Tel. 703.893.3600
 Counsel for Kapitus Servicing, Inc., f/k/a Colonial Funding Network, Inc.,
as servicing agent for Strategic Funding Source, Inc., d/b/a Kapitus
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                                 Bankruptcy Case Background

       1.      On July 15, 2021, the Debtor filed his third voluntary petition under Chapter 13 of

Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (Doc 1) (the "Petition").

       2.      The Debtor is the sole owner, member and manager of Delicious Gourmet, LLC, a

Maryland limited liability company ("Delicious Gourmet").

       3.      The Debtor's schedules included a contingent, unliquidated, and disputed obligation

to Colonial Funding Network, Inc. (defined herein as Kapitus) in the amount of $56,742.93.

       4.      On September 8, 2021, Kapitus timely filed its proof of claim number 8 in the

amount of $58,807.79 for Breach of Contract (Claims Register 8-1) (the "Claim").

       5.      The basis of the Claim is a Loan Agreement (the "Agreement") entered into by

Kapitus, Delicious Gourmet and Debtor as guarantor on August 14, 2018. On the same day, the

parties also entered into a Security Agreement (the "Security Agreement") and Guaranty (the

"Guaranty"). As further detailed in the Agreement, Security Agreement and Guaranty, the Debtor

in exchange for a loan in the principal amount of $30,600.00 from Kapitus, granted a security

interest in Delicious Gourmet’s assets, including accounts receivables, and promised to pay

Kapitus the repayment amount of $41,922.00 (the "Repayment Amount"), by authorizing Kapitus

to debit specified remittances in the amount of $807.00 from Debtor’s depositing bank account,

SunTrust #0903, (the "Account") on a weekly basis. True and correct copies of the Agreement

and loan documents are attached to the Claim.

                      Specific Responses to Allegations in the Objection

       6.      Kapitus admits the allegations in Paragraph 1 of the Objection. Notwithstanding,

Kapitus expressly incorporates the reservation of rights set forth in the Claim.

       7.      Kapitus admits the allegations in Paragraph 2 of the Objection.




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       8.        Kapitus admits the allegations in Paragraph 3 of the Objection.

       9.        Kapitus admits the allegations in Paragraph 4 of the Objection.

       10.       Kapitus denies the allegations in Paragraph 5 of the Objection. Answering further,

see Additional Background information below.

       11.       Kapitus does not have sufficient information to admit or deny the allegations in

paragraph 6 of the Objection and calls for strict proof thereof. Answering further, see Additional

Background information below.

       12.       In response to Paragraph 7, Kapitus admits that the Debtor requested informal

discovery. Answering further, Kapitus states that at the time Debtor had failed to produce

documents formally requested in multiple bankruptcy cases over several months, had not issued

any discovery himself, and Kapitus was not required to produce documents to the Debtor pursuant

to any informal request and outside of the discovery rules, since the requests are subject to

objections.

       13.       Kapitus denies the allegations in Paragraph 8 of the Objection and calls for strict

proof thereof.

       14.       Paragraph 9 of the Objection contains only legal conclusions rather than statements

of fact, and as a result, no response is necessary. To the extent a response is required, Kapitus

denies the allegations in Paragraph 9 of the Objection and calls for strict proof thereof.

                                    GENERAL DENIAL OF ALL
                                 ALLEGATIONS IN THE OBJECTION

       15.       ALL ALLEGATIONS OR CLAIMS FOR RELIEF IN THE OBJECTION THAT

ARE NOT EXPRESSLY ADMITTED ABOVE ARE HEREBY DENIED IN THEIR

ENTIRETY.




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                               Additional Background Information

       16.     In his Objection, the Debtor alleges that he was scammed after he received funds

from Kapitus. He is not alleging that he did not sign the Agreement, Security Agreement, or

Guaranty, or that he didn't receive the money pursuant to the Agreement. He simply states that he

believes he was scammed by an individual named Demetrios Boudourakis ("Boudourakis"), who

the Debtor believes was an agent of Kapitus. However, that is not the standard that the Debtor

must meet.1 During the 2004 Examination of the Debtor conducted by Kapitus on October 8, 2021,

the Debtor agreed that he understood and signed the Agreement, Security Agreement, and the

Guaranty which is the basis of the Claim and he received the funding in his Account. Further, as

set forth below, Boudourakis was not an actual or apparent agent of Kapitus, and no factual

allegations in the Objection support the inference that Boudourakis was an agent of Kapitus.

       17.     On August 16, 2018, Kapitus fulfilled its obligations under the Agreement by

advancing $29,815.00 to Debtor’s depositing Account, after deduction of fees and costs. However,

by September 18, 2018, Delicious Gourmet and Debtor defaulted on their obligations under the

Agreement and Guaranty, intentionally closing the Account and ceasing all payments thereafter.

       18.     Prior to the default, on August 23, 2018, the Debtor called Kapitus directly and

inquired whether there was a penalty to pay his balance early. Kapitus representative explained

that there is no penalty, but that he may request a payoff letter and pay the remaining balance. He

indicated that if he repays the loan off next Friday, he should only pay $30,000.00, instead of the

Repayment Amount. After it was explained that there is a set payback amount regardless of the

repayment timing, the Debtor indicated that he will "speak to his people and call [us] back."



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  On October 18, 2021, Kapitus filed its Complaint to Determine the Non-Dischargeability of Debt against
the Debtor pursuant to 11 U.S.C. § 523(a)(2), (a)(4) and (a)(6) based on the factual allegations and
circumstances detailed in this response.


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       19.     Unbeknownst to Kapitus at the time, the Debtor had obtained a cashier's check in

the amount of $30,000.00 on August 17, 2018 (the day after the funding of the Account) and had

sent the money to a third party, Acceleration Capital Group. Debtor claims that cashier's check

was lost in the mail. Subsequently, on September 4, 2018, he re-issued payment and then sent two

checks, one in the amount of $30,000.00 and the other in the amount of $5,000.00, to "Acceleration

Cap Group".

       20.     In the interim, on September 13, 2018, the Debtor called Strategic Funding or

Colonial (defined here as "Kapitus") again asking if three weekly payments had been taken from

the Account, and Kapitus verified that the weekly repayments had been taken and one was

forthcoming the next week (in accordance with the Agreement). He also advised Kapitus that he

had been robbed and explained that his phone and wallet had been stolen. However, when the

Debtor was asked if he had ever spoken with Kapitus or if he had been robbed in September of

2018, during his 2004 Examination held on October 8, 2021, he stated that he had not spoken with

Strategic or Colonial and that he was never robbed of his phone or credit cards.

       21.     On September 19, 2018, when the weekly payment was first returned or not

honored due to insufficient funds, Kapitus reached out to the Debtor. At that time, upon

information and belief, the Debtor stated in telephone recordings "the people who got me the loan,

okay, went and did a fraud on the $30,000.00 went into the account and stole the money. And the

reason you cannot get the money from the account because its zero money. So right now, I hired

a lawyers and the people's name is Jimmy and he promised me to return the money back. I just

hire a lawyers from New York for the problem. For your respect, guys, I got the money, that's fine,

but right now I have no money. I have two choices, my lawyer told me, file bankruptcy or wait

until these people return the money. . . Yes, these people got the money from my account. He




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stole it right away. They stole it from the bank. . . ." When asked for proof he affirms that he has

everything and will send it shortly. He indicates that he spoke with Dimitria and now he can no

longer reach them. He also indicated that Jimmy owned the business that got him the loan with

Colonial. He later states, according to the recordings: "I have no problem to give you the money,

guys. I have no problem at all with the funds, okay, I only have in my name $7,000. If you want

to wait, wait for my lawyer, or settle on $7,000, whatever you want to do, guys, respect for you

guys. . . . I didn't tell my wife, if I told my wife she would kill me . . . and these people they

promised me a lot of things and then they got my routing number and everything, they got control

cashier's check. I have the cashier's check with me . . . I gave it to my lawyer. . . I am not lying to

you guys, it's the truth . . . I got everything from them. . . . They took $30,000.00 and $5,000.00

and I have check where they took money from . . . I know how much you funded me . . . I am not

going to lie . . . I have no problem to give you $7,000.00 . . . for respect for you. . . I do not do

business like this. . . . I am out of money, you are out of money and that's not fair."

       22.     On September 24, 2018, when the Debtor called Kapitus to provide his police case

information against "Jimmy" from "Acceleration Capital Group", he stated, "the company that

went and got me the money from you guys, went and stole the money right away."

       23.     Although the Debtor was asked to provide information about this fraud, as of

October 4, 2018, nothing appears to have been received by Kapitus.

       24.     In reality, however, the Debtor was never robbed and the money from the Account

was not taken out by anyone but the Debtor. As it was revealed by the records produced by the

Debtor in this bankruptcy case, and the Debtor's testimony during his 2004 Examination, the

Debtor himself withdrew two checks, one for $30,000.00 and one for $5,000.00 and knowingly

paid them over to Acceleration Capital Group on his own.




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       25.     The Debtor clearly knew he was dealing with a separate and unaffiliated entity

when he called Kapitus, but despite this clear understanding, he now gives a contrary account of

the events. Based on the sworn statement submitted to the investigator, which sets forth the

Debtor's sworn testimony at the time the relevant conduct occurred, the Debtor claims he was

offered the larger loan before he signed the contract with Kapitus (the "Statement"). The

Statement is attached hereto as Exhibit 1. The Debtor lays out his scheme in which he intended

to obtain Kapitus funding for non-business purposes. The Debtor defrauded Kapitus at the time of

the execution of the Agreement and related loan documents by planning to take Kapitus funding

and parlay it into a much larger loan contrary to the representations and warranties in the contract.

See Agreement, ¶1.15 (Loan for Specific Purpose Only) and 2.9 (Other Financing).

       26.     The Debtor's bank statements also reflect that he intentionally closed the Account

on September 13, 2018, and transferred approximately $25,000.00 to two new SunTrust accounts,

thereby depleting the Account, defrauding Kapitus by using the funding for non-business purposes

(including casino gambling), and preventing it from receiving weekly re-payments of its loan.

       27.     The Debtor cannot claim that he was scammed, when he scammed Kapitus and

misused the loaned funds.

                                            Argument

       28.     A claim or interest, proof of which is filed under § 501 of Title 11 of the United

States Code, is deemed allowed unless a party in interest objects. 11 U.S.C. § 502(a). If an

objection is filed, a hearing is held by the Court to determine whether the claim should be allowed

or disallowed and the amount of the claim. In Re Smith, 1 Fed.Appx.178, 181 (4th Cir. 2001).

       29.     During the claims allowance process, the burden shifts between the parties.

Initially, a creditor bears the burden of establishing its claim. Federal Rule of Bankruptcy




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Procedure 3001(f). Once a creditor properly executes and files a proof of claim in accordance with

Federal Rules of Bankruptcy Procedure, its proof of claim is considered "prima facie evidence of

the validity and amount of the claim." Fed. R. Bankr. P. 3001(f); In Re Hartford Sands Inc., 372

F.3d 637, 640 (4th Cir. 2004); In Re Landbank Equity Corp., 973 F. 2d 265, 269 (4th Cir. 1992).

       30.     A properly filed proof of claim is prima facie evidence of validity and amount of

claim and, to overcome this prima facie effect, the objecting party must bring forward evidence

equal in probative force to that underlying proof of claim; only then is ultimate burden of

persuasion with the proponent of proof of claim. In Re Hartford at 640; In Re Johnson, 960 F. 2d

396, 403 (4th Cir. 1992); In Re Linkous, 990 F.2d 160 (4th Cir. 1993).

       31.     If a party objects to the claim, the objecting party carries the burden of going

forward with evidence to overcome the prima facie validity and the amount of the claim. In Re

Moser, 25 Fed. Appx. 161, 163 (4th Cir. 2002), citing In Re Landbank at 269. If the objecting

party meets their burden of proof, the burden of persuasion shifts back to the claimant. In re

Harford at 640.

       32.     The Claim provides a breakdown of the principal and interest due at the time of

filing of the Petition. As of the Petition date, the claim asserts principal due was $39,501.00,

interest due was $6,733.54, and contractual and attorney’s fees due of at least $12,573.25, for a

total of $58,807.79, subject to amendment. Claim, at pg. 9. In addition, the Claim shows all credits

applied towards the amount due and the missed payments by the Debtor and provides a detailed

accounting of the Claim total. Claim, at pg. 55.

       33.     Kapitus denies that Boudourakis or his employer or entities were an actual or

apparent agent of Kapitus. The Debtor has not provided any factual support for his belief that

Boudourakis was an actual or apparent agent of Kapitus other than his “belief”, or that is




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attributable to Kapitus. Further, the Debtor has not provided any factual support for the assertion

"that the original loan the Debtor was given and the subsequent loan he was promised were

provided as part of a fraudulent scheme perpetrated by Kapitus and/or its employees, agents, or

apparent agents".

       34.     The Debtor fails to state facts upon which the Claim can be disallowed because he

received funding from Kapitus and decided, on his own, to send $35,000.00 to a third party, not

affiliated with Kapitus. Further, Kapitus asserts that at the time of the transaction, the Debtor knew

Kapitus was not affiliated with Boudourakis based on phone call recordings between the Debtor

and representatives of Kapitus. In the Statement, the Debtor states that "Demetria told me don’t

worry you can fund the fee with another loan from another lender. Then pay the first loan back

after you receive the second loan." Statement, pp. 1. He clearly knew that another lender would be

involved to fund the fee for the larger loan. Next, he states that "I agreed to this, and on or about

August 14, 2018 I received loan documents from Strategic Funding Source / Colonial Funding. I

completed the paperwork and sent it back to Strategic Funding Source / Colonial Funding. Shortly

after this, $30,000.00 was wired into my business account." Id.

       35.     But in paragraph 5 of the Objection, the Debtor changes his story and states that he

"believes that this claim is the product of a scam. The Debtor did not seek out a loan, but he was

contacted via phone by someone claiming he was already approved for funding. A short time after

receiving loan proceeds from Kapitus, the Debtor was informed that he had the opportunity to

remit the proceeds of his loan as advance fees and interest for a second, larger loan." Objection, at

¶5.

       36.      A fact that the Debtor doesn't dispute is that he knowingly signed a contract with

Kapitus (Colonial Funding at the time) on August 14, 2018, for the principal sum of $30,600.00.




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He testified that he was familiar with the type of loan he sought from Kapitus, and had obtained

similar funding in the past.

       37.     Since 2018, the Debtor's story has changed multiple times, and in his recent 2004

Examination he now claims that he received the funding from Kapitus and then Acceleration

Capital Group contacted him again to obtain either a $400,000.00, or later a $1,000,000.00 loan.

       38.     The Debtor does not and he cannot allege that the Agreement, Security Agreement

or Guaranty are not a valid contracts, therefore, the Debtor cannot maintain an action for the

disallowance of the Claim.

       39.     The Debtor fails to provide a concrete timeline of the events that transpired, but the

bank statements for the Account clearly show that Kapitus funded the Account, and the following

day, the Debtor wrote a cashier's check to himself for $30,000.00. See Exhibit 2. The bank records

further show the Debtor waited until September 4, 2018 to issue the new checks.

       40.     In multiple phone recordings, the Debtor makes a distinction between Kapitus and

his "sales rep". Once he realizes he has been scammed, he contacts Kapitus and incredibly tells the

representative over the phone that he was robbed, and his wallet and cell phone were taken from

him. Based on his testimony during the 2004 Examination, that is not true. During the multiple

times the Debtor contacted Kapitus, he admitted that he was indebted to Kapitus under the

Agreement.

       41.     The facts show that the Debtor remitted the funds on his own, after receiving loan

proceeds from Kapitus. The Debtor received $29,815.00 in the Account after signing the

Agreement and completing the funding call with Kapitus.

       42.     Paragraph 8 of the Debtor’s Objection states, "Debtor believes that Boudourakis

was an actual or apparent agent of Kapitus and that the original loan the Debtor was given and the




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subsequent loan he was promised were provided as part of a fraudulent scheme perpetrated by

Kapitus and/or its employees, agents, or apparent agents, subjecting Kapitus to liability for the

actions of its employee, agent, or apparent agent."

       43.     However, the Debtor has failed to put forth sufficient evidence in rebuttal to the

Claim, which is supported by the required documentation. "If the proof of claim is supported by

the required documentation, the presumption of validity may be overcome by the objecting party

only if it offers evidence of equally probative value in rebuttal.” In Re Falwell, 434 B.R. 779, 784

(Bankr. W.D. Va. 2009)(citing In re Holm, 931 F.2d at 623; In Re Fullmer, 962 F.2d 1463, 1466

(10th Cir. 1992); In Re Allegheny International, Inc., 954 F.2d at 173–74).

       44.     Kapitus denies actual agency relationship with Boudourakis, who was an owner,

employee or agent of JTT Global Holdings. Strategic Funding Source, Inc. entered into a Sales

Referral Agreement with JTT Global Holdings (the "Referral Agreement"), which allows JTT

Global Holdings to market products, such as merchant cash advance, factoring and loan

agreements to businesses and refer them to lenders, such as Kapitus.

       45.     The Referral Agreement, which Kapitus reserves the right to produce subject to an

appropriate stipulation and/or protective order, states that:

   2. INDEPENDENT CONTRACTOR. Nothing in this Agreement or in the performance
   thereof shall be construed to create any partnership, joint venture, relationship of principal
   and agent or employer and employee between SFS and Referral Provider or any of their
   affiliates, subsidiaries, contractors, employees or agents. Referral Provider shall not make
   any representations in any manner to the effect that Referral Provider is the agent, servant,
   employee, representative, partner, or co-venturer, of SFS, and Referral Provider shall have
   no authority to solicit, bind or commit SFS to any transaction. All financial, legal and other
   obligations associated with Referral Provider's business are the sole responsibility of the
   Referral Provider. Individual assigned, hired or retained by Referral Provider to perform
   the services under this Agreement are solely the employees and agents of Referral Provider.
   Referral Provider shall have sole authority and responsibility to counsel, train, instruct,
   discipline, review, evaluate, set the pay rates of, and terminate its employees and agents.
   Referral Provider will maintain all necessary payroll and personnel records and compute
   wages and withhold applicable federal, state and local taxes and social security payments



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   for their personnel. Furthermore, Referral Provider acknowledges that they shall be solely
   responsible for any payments related to their facilities, the purchase and maintenance of
   employment and/or workers compensation insurance coverage related to their employees,
   and that SFS shall have no responsibility for any such coverage or any similar matters.

       46.     The Referral Agreement contemplates that JTT Global Holdings is its own entity

and certainly not an agent of Kapitus. Therefore, there is no actual agency relationship between

Kapitus and JTT Global Holdings, because Kapitus never granted actual authority.

       47.     The Debtor also asserts that Boudourakis was an apparent agent of Kapitus.

       48.     Under generally accepted principles of agency law, an agent's authority to act must

come from a principal, and apparent authority may arise only when the words or conduct of the

principal causes a third party to believe that the principal has consented to or authorized the agent's

actions. Allgood v. Hallmark Woods Homeowner Ass'n, 2021 Bankr. Lexis 2155 *13; 2021 WL

3520334 (D. Md. Bkrp., August 10, 2021, Case No. 17-11781, Chptr.13, Adv. Pro. No. 19-00358);

Jackson v. Brandywine 2109 Brandywine, LLC, 180 Md. App. 535, 565-566, 952 A.2d 304, 322-

323. Reasonable reliance is a critical element of the apparent authority doctrine. Allgood at *13.

It is important to note that "apparent authority does not arise from the subjective understanding of

the person dealing with the purported agent, nor from the appearance created by the purported

agent himself; instead, apparent authority only exists where the principal creates the appearance

of an agency relationship." Samra v. Shaheen Bus. & Inv. Grp., Inc., 355 F. Supp. 2d 483, 504

(D.D.C. 2005) citing Ja Dan, 898 F. Supp. at 900 (citing Spence, Payne, Masington & Grossman,

P.A. v. Philip M. Gerson, P. A., 483 So. 2d 775, 777 (Fla. App. 1986)); see also Roessler, 858 So.

2d at 1162; Izquierdo v. Hialeah Hosp., Inc., 709 So. 2d 187, 188 (Fla. App. 1998);

RESTATEMENT (SECOND) OF AGENCY § 27 (1958).

       49.     In this case, no conduct or words of Kapitus created the appearance of an agency

relationship, or caused the Debtor to reasonably believe the purported agent acted on behalf of



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Kapitus. Further, the Debtor does not have sufficient evidence to show that he reasonably relied

on the statements of the purported agent in consciously taking the funds loaned to him and sending

them to a third party, Acceleration Cap Group, through checks he requested from his bank.

        50.     For argument's sake only, even if an agency relationship was deemed to exist, which

it did not, the fraudulent conduct of the purported agent would destroy the relationship as the

alleged acts of the purported agent would fall far outside the scope of any agency.

        51.     Further, as alleged above, the Debtor cannot rise above his own fraudulent acts in

applying for the loan with Kapitus with hidden intentions to obtain an even larger loan and is

prohibited and equitably estopped from complaining later that the purported agent defrauded him

initially or later after receiving the funding.

        52.     Therefore, the Objection should be overruled as a matter of law.

        53.     As to paragraph 7 of the Objection, regarding Kapitus' refusal to participate in

informal discovery, the Debtor tries to draw an inference, which is completely inappropriate. At

no point, has Kapitus been required to produce discovery to the Debtor. As this Court is well aware,

the Debtor refused to comply with multiple Court orders requiring him to produce documents to

Kapitus in his prior case on multiple occasions, resulting in the last bankruptcy case being

dismissed “for cause”.

        54.     The Debtor further objects to the $9,875.25 included in Kapitus’ Proof of Claim as

"Attorney’s Fees" on the basis of §506(c). Objection, ¶9.

        55.     Section 506(c) states: "The trustee may recover from property securing an allowed

secured claim the reasonable, necessary costs and expenses of preserving, or disposing of, such

property to the extent of any benefit to the holder of such claim, including the payment of all ad

valorem property taxes with respect to the property."




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       56.     Therefore, §506(c) is not a basis for disallowing any attorney's fees.

       57.     11 USC § 506(b), which states: "To the extent that an allowed secured claim is

secured by property the value of which, after any recovery under subsection (c) of this section, is

greater than the amount of such claim, there shall be allowed to the holder of such claim, interest

on such claim, and any reasonable fees, costs, or charges provided for under the agreement or State

statute under which such claim arose."

       58.     Section 506(b) refers to attorneys' fees incurred post-petition, and not those that

accrued as part of the contract between the parties, pre-petition. The attorney's fees are a

contractual term and incorporated into the Claim. Pursuant to Section 3.3 of the Agreement,

attorney's fees are 25% of the principal amount owed. However, in reality the amount of attorney’s

fees expended by Kapitus up to date is much higher. "Section 506(b) does not limit an

undersecured creditor's contractual claim for attorney's fees. Section 506(b) merely codifies pre-

Code law that an oversecured creditor can assert, as part of its secured claim, its rights to interest,

costs, and attorney's fees arising under its contractual agreement." (emphasis in original) In re Ely,

28 B.R. 488, 491-92 (Bankr. E.D. Tenn. 1983). Kapitus reserves the right to amend its Claim and

include all of its attorney's fees incurred against the Debtor, including those additional amounts

and fees claimed in its Complaint to Determine the Non-Dischargeability of Debt, and hereby

further incorporates its reservation of rights as stated in the Claim.

                                             Conclusion

       59.     The Objection contains only conclusory references to the Debtor believing he was

defrauded by an agent of Kapitus and is woefully deficient in setting forth facts or legal support

showing that the debt is not owed as reflected on the proof of claim, and therefore the Objection

should be denied.




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       60.      The Claim was filed with documentation in support of the claimed amounts. The

Objection fails to set forth any evidence or information in rebuttal to that information; instead it is

a thinly veiled attempt to have the Claim disallowed without a consideration of the merits. The

Debtor fails to present evidence sufficient to demonstrate the existence of a true dispute with

probative force equal to the contents of the Claim and the assertion that he was scammed by

someone who he thought worked for Kapitus is insufficient to overcome the prima facie validity

of the Claim.

                                       Reservation of Rights

       61.      Kapitus reserves all rights, claims, and defenses with respect to its claims,

including, without limitation, any defenses and exhibits that it may assert and present at a hearing

with respect to the Debtor’s Objection, if necessary, and to further supplement its factual and legal

positions set forth herein.

       WHEREFORE, Kapitus, prays for an order overruling the Objection to Claim 8, for an

allowance of the Claim in full, including as the Claim may be further amended or increased, and

for such other and further relief as the Court deems just.

Date: October 29, 2021                         KAPITUS   SERVICING,     INC.  F/K/A
                                               COLONIAL FUNDING NETWORK, INC. AS
                                               SERVICING AGENT FOR STRATEGIC
                                               FUNDING SOURCE, INC. D/B/A KAPITUS,


   /s/ Paige Levy Smith                             /s/ Klementina V. Pavlova
  Paige Levy Smith, MD Fed. Bar No. 19912           W. Ashley Burgess (admitted pro hac vice)
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  Tel. 703.893.3600                                 Richmond, VA 23218-1998
    Counsel for Kapitus Servicing, Inc. f/k/a       Tel. 804.648.1636
  Colonial Funding Network, Inc., as servicing       Counsel for Kapitus Servicing, Inc. f/k/a
  agent for Strategic Funding Source, Inc.,         Colonial Funding Network, Inc., as servicing
  d/b/a Kapitus                                     agent for Strategic Funding Source, Inc., d/b/a
                                                    Kapitus


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 29th day of October, 2021, the Response to Debtor's Objection
to Claim Number 8-1 and Reservation Of Rights was filed via the CM/ECF system which sent
electronic notification of such filing to the following parties:

                                      Richard B. Rosenblatt
                                      Email: rrosenblatt@rosenblattlaw.com
                                      Counsel for the Debtor

                                      Timothy P. Branigan
                                      Email: cmecf@chapter13maryland.com
                                      Chapter 13 Trustee

                                      Wayne Anthony Holman
                                      Email: bankruptcy@bww-law.com

                                      Daniel Alan Ross
                                      Email: Daniel.ross@mccalla.com
                                      Counsel for Fay Servicing, LLC


         I further certify that on this 29th day of October, 2021, a copy of the foregoing was mailed
first class U.S. Mail, postage pre-paid to:

                                      Mahmoud Musa Abulhawa
                                      8724 Hawkins Creamery Road
                                      Gaithersburg, MD 20882
                                      Debtor

                                      Synchrony Bank
                                      c/o PRA Receivables Management, LLC
                                      P.O. Box 41021
                                      Norfolk, VA 23541



                                               /s/ Klementina V. Pavlova




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                            Case 21-14649         Doc 58      Filed 10/29/21           Page 17 of 22
                                                                                                       Exhibit 1


         PEA
          Cis



             }
       i          By


                 SUFFOLK DISTRICT ATTORNEY
                         TIMOTHY D. SINI                                                    C.C.#18-991816
                         DISTRICT ATTORNEY                                              Date           Time
                        STATEMENT FORM                                                  Page 1 of 2

              I Mahmoud Musa Abuthawa (bei
                                                ng duly sworn) deposes and says
                                                                                  : that | am 61 years old. | was
     born on 09/02/57. | am giving this
                                           statement to Detective Investigator
                                                                                Reinhardt Andersen and am givi
     this statement freely, having rece                                                                         ng
                                        ived no threats or promises to do
                                                                            so,
             I am’the Owner/President of Deli
                                                cious Gourmet located in Gaithers
                                                                                   burg Maryland.
              Sometime in June 2018, | rece
                                            ived a voicemail from a fema
                                                                         le with a Spanish accent. The
     left on my phone, stated that” |                                                                  message
                                      have good news for you”, “you have
                                                                           been approved for a        loan”. This person
    left a phone number of 347-842-6
                                      439. | called the number back
                                                                       and spoke with a person        who identified
    herself as Demetria. | recogniz
                                    ed her as the same person that
                                                                     had left the voice message         on my phone.
    Demetria said her Company was
                                      called Acceleration Capital Grou
                                                                       p. She also told me that
                                                                                             | had been
    approved for a small business
                                  loan. | asked Demetria what
                                                              | would need to proceed with
    told me | needed                                                                       the loan. Demetria
                        to send her a copy of my driver's
                                                          license, my business certificate,
    statements. | then took pictures                                                         and f ur months of bank
                                       of these documents and sent them
                                                                           via oo             fia. Yl
    this | received a call from Demetria                                                                      after
                                           and she told me | was approved
                                                                            for a loan of $400.00.00. Demetria
                                                                                                                 also




funds to was 3280 Sunrise Hig
                              hway Suite 159 Wantagh, New
                                                          York 11 793.0n or about Septem
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                                                                                         ber 4™ 2018,
False statements made herein
                               are putishails as a class
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"A" misdemeanor, pursugnt to                                       Sk      Y       2.0 Ji
                             Section, 210.45 of the Penal
                                                                               J

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 ignatureé-of perSon/giving stitLS
                                ement
                                             3 Ley 7 {          Swom to before me this             day of 2019
                                                Date

                                                                           Notary Public
                                                                State of Maryland County of Montgomery
                           Case 21-14649            Doc 58      Filed 10/29/21        Page 18 of 22




       OFFICE OF DISTRICT AT
                             TORNEY                      COUNTY
       CONTINUING STATEMENT                                           OF SUFFOLK
                            FORM                                                                   CC # XX-XXXXXXX
                                                                                                   Date

                                                                                                   Page 2 of 2
      CONTINUING STATEMENT
                           OF Mahmoud Musa Ab
                                              ulhawa                      As GIVEN TO Detective
      Reinhardt Andersen                                                                        Investigator




      Office, and sent the che
                                cks to the address that
                                                            Demetria had provided
     the funds within several                                                         to me. | was told that |
                                 days. | received a money                                                      would receive
                                                               confirmation indicating
     on 09-11-18. At a paint                                                             | could expect delivery
                                in time after this | began                                                        of the funds
                                                             to be contacted by phone
     identified himself as "Jo                                                             and text and email by a
                               e". Joe contacted me                                                                  male that
                                                         using the number 631 -99
     accelarationcapitalgroup                                                       7-8116 and
                                 ine@gmail. com . I believ
                                                            e that Joe was the sup
                                                                                     ervisor of Acceleration
                                                                                                                Capital




SWORN      BEFORE ME THIS
                                              DAY
OF
                              , 2019
                                                                              Signature of person giv
                                                                                                      ing statement


NOTARY PUBLIC
State of Maryland Cou
                      nty of Montgomery
                                   Case 21-14649              Doc 58                                Filed 10/29/21                                           Page 19 of 22
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                         Case 21-14649                       Doc 58               Filed 10/29/21                 Page 21 of 22
                                                                                                                                                 Exhibit2#2
                                                                                                                                                 Exhibit




                         SUNTRUST BANK
                         FO BOX 305183                                                                                                    Page 2 of §
                         NASHVILLE TN 37230-5183                                                                                          36        175/0/72
                                                                                                                                                       903
                                                                                                                       aR                 08/31/2018

                                                                                                                                          Account
                 SuNTRUST                                                                                                                 Statement
     Deposits/           Date                 Amount         Serial #              Description     | Dats                        Amaurt     Serial ¥
     Credits            08/14                  333.24
                                                                                                                                                               Description
                                                                                   ELECTRONIC/ACH CRECIT
                                                                                    GANKCARD 1869 BTOT DEP 519701010152304
                     08/15                     266.52                              ELECTRONIC/AGH CREDIT
                                                         }                          BANKCARD 1869 BTOT DEP 519701010152304
                   08/16                    Z9:815:00.                             ELECTRONIC/ACH CREDIT
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                     08/16                     288.15                              ELECTRONIC/ACH CREIT
                                                                                    BANKCARD 1869 BTOT DEP 519701040152304
                     08/17                     532.59                              ELECTROMC/ACH CREINT
                                                                                    BANKCARD 1869 BTOT DEP 5197010101652304
                     08/20                     435.34                              ELECTRONIC/ACH CREDIT
                                                                                    BANKCARD 1869 BTQT DEP 519701010152304
                     08/20                     518.31                              ELEGYRONIC/ACH GREET
                                                                                    BANKCARD 1869 BTOT DEF 519701010152304
                     08/20                   5,650.11                              ELECTRONIG/ACH CREDIT
                                                                                   BANKCARD 1863 BYOY DEP S19701010152304
                     08/21                     372.62                             ELEGTRONIC/RCH ORIENT
                                                                                   BANKCARD 1869 BYOT DEP 519701010152304
                    08/22                      162.98                             ELECTROMIG/ACH CREDIT
                                                                                   CANKGARD 1864    BYOT DEP   $19701010152304
                    08/23                       11.34                             ELEGTRONIC/AGH   CREDIT
                                                                                   BANKCARD 1869    BYOT DEP   519701010152304
                    08/24                   1,042.83                              ELECTRONICAASH   CREST
                                                                                   BANKCARD 1868    BYOY DEF   519701010152304
                    08/27                     825.53                              ELECTRONIC/AGH   CREDIT
                                .                                                  BANKCARD 1869   BTOT DEP    519701010152304
                    08/27                     750.92                              ELECTRONIC/AGH   CREDIT
                                                                                   BANKCARD 1869 BTOT DEP 519701010152304
                    08/27                   1,483.35                              ELECTRONIC/ACH CREDIT
                                                                                   BANKCARD 1869 BTOT DEP 519701010152304,
                    08/27                   4,730.75                              ATM DEPOSIT
                   08/28                           .07                            ELECTRONIC/ACH CREDIT
                                                                                   PATEAL VERIFYBANK SUSY TKO. hs
                   08/23                           18                             ELECTRONIC/ACH CREDIT
                                                                                   PAYPAL VERIFYBANK SUGPPWTRARQSS
                   08/28                      713.07                             ELEGTRONIG/ACH CREDIT
                                                                                  BANKCARD 1869 BTOT DEP 8157010101%2304
                   08/29                     308.34                              ELECTRONIC/ACH CREDIT
                                                                                  BANKCARD 1868 BTOT DEP 518701010152304
                   08/30                     606.24                              ELECTRONIC/AGH CREDIT
                                                                                  BANKCARD 1869 BTOT DEP 519701010152304
                   08/31                     940 42                              ELECTRONIC/ACH CREDIT
                                                                                  BANKCARD 1869 BTOT DEP S18701010152304
                   Deposlts/Credits:   41                                                 Total tems Deposited: 9
 Checks           Check                         Andount        Date | Check                          Antount
                  Numbee                                                                                         Date | Check                           Amount      Date
                                                               Paid | Mumber                                     Paid | Number                                      Paid
                  80                         30,000.00 08/17 | 1113                                   120.00   08/17 | 1153
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                 “1102                                                                                                                                   500.00 08/13
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                 1108                                                                                                                                    393.33 08/21
                                                260.00 0B/0H | *1148                                 265.00 0814 | 1162                                  323.62 08/22
                 1109                           409.99       08/10 | 1149                            420.36    08/07    |*1166
                 1110                           645.00 08/10 | 1150                                                                                      300.00   08/22
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     SUNTRUST                                                                          Account
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